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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW JERSEY, et al.

                                 Plaintiffs,
                                                                     No. 1:25-cv-10139
        v.

DONALD J. TRUMP, et al.

                                 Defendants.



                         MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of the following attorneys, all to serve as counsel for Plaintiff State of New Jersey in this matter:

       Jeremy M. Feigenbaum, a member of the bars of the U.S. Supreme Court, 2020; U.S. Court
        of Appeals for the First Circuit, 2018 (Bar No. 1184069); U.S. Court of Appeals for the
        Second Circuit, 2017; U.S. Court of Appeals for the Third Circuit, 2018; U.S. Court of
        Appeals for the Fifth Circuit, 2017; U.S. Court of Appeals for the Seventh Circuit, 2017; U.S.
        Court of Appeals for the Ninth Circuit, 2015; U.S. Court of Appeals for the DC Circuit, 2018;
        U.S. Court of Appeals for the Federal Circuit, 2017; U.S. District Court for the District of
        New Jersey, 2018; State of New Jersey (No. 117762014); and State of New York;

       Shankar Duraiswamy, a member of the bar sof the State of New Jersey (Bar No.
        032122005) and District of Columbia (Bar No. 501702);

       Viviana M. Hanley, a member of the bars of the State of New Jersey (No. 401572022) and
        Commonwealth of Massachusetts (No. 707266);

       Shefali Saxena, a member of the bars of the States of New Jersey (No. 272672018), New
        York (No. 5699988), and California (No. 304539); and

       Elizabeth R. Walsh, a member of the bar of the State of New Jersey (No. 438642023).

        As set forth in the accompanying certification, the foregoing attorneys are (1) members in

good standing of the bars of every jurisdiction to which they have been admitted to practice, (2) are
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not the subject of disciplinary proceedings pending in any jurisdictions in which they are

members of the bar, (3) have not previously had a pro hac vice admission to this Court (or other

admission for a limited purpose under Local Rule 83.5.3) revoked for misconduct, and (4) have

read and agreed to comply with the Local Rules of this District.

       WHEREFORE, this Court should admit attorney Jeremy M. Feigenbaum, Shankar

Duraiswamy, Viviana M. Hanley, Shefali Saxena, and Elizabeth R. Walsh pro hac vice to the bar

of this Court.


January 21, 2025                                Respectfully submitted.

                                                ANDREA JOY CAMPBELL
                                                 ATTORNEY GENERAL OF MASSACHUSETTS

                                                 /s/ Gerard J. Cedrone
                                                Gerard J. Cedrone (BBO No. 699674)
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                                                 Massachusetts




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